Case 2:24-cv-00364-AKB Document 6-4 Filed 12/10/24 Page dy 1 COURTS

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STEPHEN W. —e
UNITED STATES DISTRICT COURT cute bistacrer io
for the
District of Idaho
Nathanael Donald Lewis i)
)
Plaintiff )
) Case No: 2:24-cv-00364, AKB
Vv. J
)
Antony L. Blinken, et al. )
)
Defendants )
COVER SHEET

PLAINTIFF/PETTFIONER DEMAND FOR ENTRY OF DEFAULT — 3 pages
PROPOSED ORDER — 1 page
ATTACHMENT 1! - Corrected PROOF OF SUMMONS SERVED — 22 pages

Certificate of Service for 27" of November 2024 stuff — 2 pages
